Case 2:20-cv-00188-JRG-RSP Document 77 Filed 03/26/21 Page 1 of 6 PageID #: 1708




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION



   LUMINATI NETWORKS LTD.                         §
                                                  §
                  Plaintiff,                      §
                                                  §           CIVIL ACTION NO.
   v.                                             §
                                                  §           2:20-CV-00188-JRG-RSP
   NETNUT LTD.                                    §
                                                  §
                  Defendant.                      §


                DEFENDANT NETNUT LTD.’S REPLY IN SUPPORT OF ITS
                MOTION TO STAY PENDING EX PARTE REEXAMINATION

         Luminati presents five reasons for opposing a stay pending the granted reexaminations of

  both asserted patents involving all asserted claims: (1) NetNut should have sought inter partes

  review (“IPR”) rather than ex parte reexamination (“EPR”); (2) NetNut’s EPR requests were filed

  too late; (3) EPRs relatively seldomly involve cancellation of all challenged claims and take too

  long; (4) Luminati also asserts trade secret claims; and (5) the parties compete. None of these

  reasons withstand scrutiny.

  I.     NetNut is Not Trying to Game the System by Seeking Reexamination

         NetNut filed EPRs to invalidate the ’511 and ’968 patents, not to “game the system.” Dkt.

  76 at 1. On October 29, 2020, a third-party filed an IPR challenging the ’511 patent, and on

  December 7, 2020, the same third-party filed an IPR challenging the ’968 patent. See Teso LT v.

  Luminati Networks Ltd., IPR2021-00122 (P.T.A.B.) (’511 patent); Teso LT v. Luminati Networks

  Ltd., IPR2021-00249 (P.T.A.B.) (’968 patent). Faced with these preexisting IPRs, the Board

  would be unlikely to institute follow-on IPR petitions filed by NetNut given its policy disfavoring

  such petitions. See Valve Corp. v. Elec. Scripting Prods., Inc., IPR2019-00062, 2019 WL
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Case 2:20-cv-00188-JRG-RSP Document 77 Filed 03/26/21 Page 2 of 6 PageID #: 1709




  1490575, at *1 (P.T.A.B. Apr. 2, 2019) (precedential) (denying, on discretionary grounds, IPR

  petition filed by one party after previously denying IPR petition filed by different party); Ex. 4,

  slide 37 (only a 33% success rate of IPR serial petitions in 2020). NetNut accordingly pursued

  EPR to challenge the validity of the ’511 and ’968 patents on December 4, 2020 and January 12,

  2021, respectively. Both EPRs have been granted, and all asserted claims in this case (plus more)

  are being reexamined. Dkt. 73 at 1-2. See Veraseal LLC v. Costco Wholesale Corp., No. 2:17-

  cv-00713, 2018 WL 4524122, at *1 (E.D. Tex. May 18, 2018) (prejudice factor “neutral” where

  “reexamination was not sought for tactical reasons (other than to prevail on the merits).”).

          Luminati also notes that NetNut has identified prior art and other invalidity positions in its

  invalidity contentions beyond the grounds asserted in the EPRs. Dkt. 76 at 7-8. NetNut addressed

  this in its motion, voluntarily agreeing to “not assert the prior art grounds being raised in the EPRs

  at trial in this case if a stay is granted.” Dkt. 73 at 8. NetNut is willing to make the same stipulation

  approved by the Court in Veraseal: not to “‘rely at trial on the prior art references that the Patent

  Office deemed to raise a substantial new question of patentability,’ thus bringing the consequences

  of unsuccessful reexamination closer in line with those following an unsuccessful inter partes

  review.” Veraseal, 2018 WL 4524122, at *2. In terms of NetNut’s “theories in its invalidity

  contentions other than prior art, including indefiniteness, enablement, written description, and on-

  sale bar activity,” Dkt. 76 at 8, these are beyond the scope of IPR estoppel in any event. See 35

  U.S.C. §§ 315(e)(2), 311(b).

  II.     The Reexaminations Are Timely

          Luminati’s arguments regarding the stage of the case rest on legal error. The relevant time

  period when considering a stay is “the stage of the case at which the stay motion is filed.” Cywee

  Group Ltd. v. Samsung Elecs. Co. Ltd., No. 2:17-cv-00140, 2019 WL 11023976, at *6 (E.D. Tex.

  Feb. 14, 2019); Arbor Global Strategies LLC v. Samsung Elecs. Co., No. 2:19-cv-00333, 2021 WL
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Case 2:20-cv-00188-JRG-RSP Document 77 Filed 03/26/21 Page 3 of 6 PageID #: 1710




  66531, at *2 (E.D. Tex. Jan. 7, 2021) (“Usually, the Court evaluates the stage of the case as of the

  time the motion was filed.”) (quoted source omitted). Luminati’s references to post-motion

  discovery are thus immaterial to the stay analysis. At the time of NetNut’s motion, substantial

  completion of document production had not occurred and Luminati had not issued a single

  discovery request to NetNut. Indeed, the Court has granted stays at later stages of litigation. See,

  e.g., AGIS Software Dev. LLC v. Google LLC, No. 2:19-cv-00362, 2021 WL 465424, at *3 (E.D.

  Tex. Feb. 9, 2021) (stay granted “with discovery complete, pretrial briefing submitted, and jury

  selection pending”).

         Luminati’s argument that NetNut’s EPR requests came almost six months after the filing

  of the complaint does not change the analysis. Unlike in Luminati’s cited case, Realtime Data

  LLC v. Action Corp., No. 6:15-cv-463, 2016 U.S. Dist. LEXIS 187446, at *9 (E.D. Tex. Nov. 29,

  2016), where IPRs were filed “just short of the one-year deadline,” here NetNut filed its EPR

  requests before claim construction briefing was set to begin and before Luminati had served any

  discovery requests to NetNut. As the Court has noted, even “a delay of over seven months can be

  reasonable.” Emed Tech. Corp. v. Repro-med Sys., Inc., No. 2:15-cv-1167, 2016 WL 2758112, at

  *2 (E.D. Tex. May 12, 2016).

         Luminati’s delay argument also overlooks its own lack of diligence in bringing and

  prosecuting this case. NetNut explained that its motion came nearly five months after discovery

  opened in this case, yet Luminati had served no discovery requests and did not seek a preliminary

  injunction. Dkt. 73 at 6. Luminati previously filed lawsuits asserting the same two patents against

  other defendants, and filed a trade secret action in Israel involving the same two NetNut employees

  identified in Luminati’s complaint, before bringing the instant action. Id. at 7. Luminati does not




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Case 2:20-cv-00188-JRG-RSP Document 77 Filed 03/26/21 Page 4 of 6 PageID #: 1711




  respond to these indicia of its lack of urgency in litigating this case. See Cywee, 2019 WL

  11023976, at *4 (delay in bringing lawsuit supports staying case).

  III.   Luminati’s Statistics Are Off

         Luminati asserts that “in only about 13% of the EPR cases are all the challenged claims

  cancelled.” Dkt. 76 at 1. While it is true that 14% of third-party-requested EPRs (as these are)

  involve cancellation of all claims, 79% involve cancellation of all claims or amendments to the

  claims. Dkt. 73-4 at 2. This likelihood of issue-simplification weighs in favor of a stay. See AGIS,

  2021 WL 465424, at *2 (“In the context where all claims have been instituted upon, the Court

  understands that all the claims may potentially be modified, dropped, or canceled in light of such

  parallel proceedings.”).

         Luminati also compares the pendency of EPRs until issuance of a certificate (25 months)

  to a dissimilar pendency for IPRs that does not involve issuance of a certificate (18 months). Dkt.

  76 at 8. If Luminati had accounted for the fact that an IPR certificate issues only after “the time

  for appeal has expired or any appeal has terminated,” 35 U.S.C. § 318(b), it would be apparent that

  EPR is no more lengthy than IPR. Relatedly, Luminati contends that NetNut may appeal the

  decisions in the EPRs to delay proceedings. Dkt. 76 at 6. Luminati is wrong on the law. See 35

  U.S.C. § 306 (“patent owner,” not requester, may appeal from EPR decisions).

  IV.    Luminati Has Failed to Prosecute its Trade Secret Claims and They Do Not
         Warrant Denying a Stay

         Luminati contends that its interest in litigating its trade secret claims weighs against a stay.

  Dkt. 76 at 6-7. But at the time of NetNut’s motion, Luminati had issued no discovery requests at

  all and even Luminati’s post-motion interrogatories nowhere seek discovery on these claims. Ex.

  5. Luminati also does not confront the fact that it previously filed suits in Israel against the two

  NetNut employees involved in these allegations, refused to settle, and insisted on a trial, only to


                                                    4
Case 2:20-cv-00188-JRG-RSP Document 77 Filed 03/26/21 Page 5 of 6 PageID #: 1712




  ultimately agree to a dismissal of the claims without any payment or admission of wrongdoing by

  the employees. Dkt. 73 at 5-6. NetNut explained that the simplification benefits of the EPRs

  outweigh Luminati’s interest in expeditiously litigating its non-patent claims, consistent with

  Armor All/STP Prod. Co. v. Aerospace Commc’ns Hldgs. Co., Ltd., No. 6:15-cv-00781, 2016 WL

  6397269, at *4 (E.D. Tex. Oct. 28, 2016), Dkt. 73 at 5, and Luminati does not respond.

  V.     NetNut’s Small Competitive Footprint Does Not Warrant Denying a Stay

         Luminati argues that the parties’ competition weighs against a stay. Dkt. 76 at 5. But

  according to recent data Luminati posts on its website, Luminati had a global market share of

  53.1% in 2019, while NetNut’s market share was 1.3%. Ex. 6 at 48. Luminati’s generalized

  prejudice argument does not weigh against a stay. See Emed Tech., 2016 WL 2758112, at *2

  (status as competitors not sufficient to deny a motion to stay, or else “a stay would be unavailable

  in virtually every case involving competitors”). Luminati also does not disagree that its failure to

  seek a preliminary injunction undercuts its competition-based prejudice argument. See Stingray

  Music USA, Inc. v. Music Choice, No. 2:16-cv-00586, 2017 WL 9885167, at *1 (E.D. Tex. Dec.

  12, 2017) (“the plaintiff did not move for a preliminary injunction, which contradicts [its] assertion

  it cannot wait for a decision on infringement.”). Nor does Luminati disagree that any alleged

  injury it may claim is entirely compensable through monetary damages. Id.; Versaseal, 2018 WL

  4524122, at *1.



   Dated: March 26, 2021                      Respectfully submitted,

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Case 2:20-cv-00188-JRG-RSP Document 77 Filed 03/26/21 Page 6 of 6 PageID #: 1713




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                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the above document was

  served on March 26, 2021 to all counsel of record via electronic mail.


                                                      /s/ Eric H. Findlay
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